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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

CHRISTOPHER MIELO and SARAH HEINZL,                   )
individually and on behalf of all others similarly    )
situated,                                             )
                      Plaintiffs,                     )
                                                      )
        vs                                            )       Civil Action No. 15-180
                                                      )
STEAK ‘N SHAKE OPERATIONS, INC.,                      )       Magistrate Judge Mitchell
                Defendant.                            )

                           MEMORANDUM OPINION AND ORDER

        Plaintiffs, Christopher Mielo and Sarah Heinzl, bring this action individually and on

behalf of all others similarly situated against Defendant, Steak ‘N Shake Operations, Inc. (“Steak

‘N Shake”), alleging violations of Title III of the Americans With Disabilities Act, 42 U.S.C.

§§ 12181 to 12189 (ADA). Specifically, they allege that the facilities at Steak ‘N Shake are not

fully accessible to and independently usable by individuals who use wheelchairs for mobility, as

they do, because of various barriers in the parking lots and along the routes to the building

entrances. Moreover, they contend that Steak ‘N Shake’s company-wide ADA compliance

policies and practices are woefully inadequate to ensure that it meets its legal obligation to

provide facilities accessible to persons, like them and the proposed class, who have mobility

disabilities.

        Presently before the Court is a motion for summary judgment or in the alternative partial

summary judgment, filed by the Defendant. For the reasons that follow, the motion will be

granted in part to dismiss all claims based on 28 C.F.R. § 36.211 and denied in all other respects.

        Facts

        Plaintiff Christopher Mielo is a disabled individual who uses a wheelchair and has lived
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in Churchill, Pennsylvania since 1994. (Mielo Dep. 6:13-17, 7:5-7, 37:15-21.)1 In May or June

of 2014 or 2015, Mielo visited a Steak ‘N Shake at 650 Waterfront Drive, East Munhall (the

“Munhall location”) and “experienced unnecessary difficulty and risk due to excessive slopes in

a purportedly accessible parking space and accessible aisle.” (Id. 42:17-43:4, 43:19-21.) Mielo

has not returned to the Munhall location. (Id. 55:25-56:7.) Although Mielo has visited Steak ‘N

Shakes in Greensburg (once) and Robinson (“maybe” twice), he did not recall experiencing any

accessibility issues. (Id. 50:19-51:17, 52:10-17, 55:5-14 (clarifying “Murrysville” as

“Greensburg” restaurant).) Mielo has never visited any of the other Steak ‘N Shake locations

listed in the Complaint. (Id. 53:19-25, 55:1-22.)

         Plaintiff Sarah Beth Heinzl uses a wheelchair for mobility. (Heinzl Dep. 25:17-19.)2 As

of Fall 2015, Heinzl lives in Tucson, Arizona; however, she maintains a residence in Brookline,

Pennsylvania. (Id. 6:16-7:5, 7:15-20.) She contends that in Summer 2014, she visited Steak ‘N

Shake’s 410 Clairton Boulevard, Pleasant Hills location (the “Clairton location”) where, despite

some alleged difficulties using the access ramp, she “believe[s]” that the difficulty she

experienced operating her wheelchair [in the parking space and lot itself] was based upon the

“material of the parking lot,” not its slope. (Id. 30:19-31:11, 33:12-34:24.) She also stated that

she experienced difficulty pushing up the ramp because of the slope. (Id. 34:7-12.) Heinzl has

visited other Steak ‘N Shake locations in the past, including in Tarentum, Mercer and Robinson;

however, she did not experience or report any such accessibility issues. (Id. 40:15-21, 41:3-

42:18, 43:2-12, 55:1-19.) Heinzl has never returned to the Tarentum or Mercer locations. (Id.

41:3-22, 43:13- 17.) Heinzl has never visited any of the other Steak ‘N Shake locations listed in

the Complaint, nor has she ever visited an Arizona Steak ‘N Shake, while studying there. (Id.


1
    Def.’s App. (ECF No. 99) Ex. 1.
2
    ECF No. 99 Ex. 2.
                                                    2
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10:19-11:1, 42:23-43:1, 43:18-44:15.)

       Defendant owns, leases, controls, and/or operates approximately 425 restaurants

throughout the United States. (Duffner Dep. 11:14-23.)3 Defendant employs centralized policies

and practices with regard to the design, construction, alteration and maintenance of its facilities.

(Id. 16:9-17:21, 31:7-32:2, 34:2-16.)4 Defendant understands it has an obligation to construct its

facilities in compliance with ADA regulations and to ensure, post-construction, its facilities are

maintained in compliance with the ADA, and actively undertakes efforts to comply with those

obligations. (Id.17:4-21, 24:20-25:7, 31:7-32:2.) Defendant understands that parking facilities

“should be maintained periodically” to ensure that the condition of asphalt or concrete does not

break down, and that a public accommodation such as Defendant has a legal obligation to

construct and to maintain parking facilities in compliance with the ADA. (Id. 34:17-35:22,

63:20-64:3, 64:11-14.)

       Defendant’s operations include a facilities maintenance department, “charged with the

responsibility for maintaining corporate-owned facilities throughout the country”, including with

respect to the maintenance of Defendant’s parking facilities. (Id. 16:13-19, 17:4-21, 36:1-4.)

Defendant understands that external conditions such as weather can impact and change the

grading of a parking lot and sidewalk over time, and that the sloping of parking lots and

sidewalks can and does change over time. (Id. 35:12-22; 44:7-21; 45:3-10.) Defendant further

understands and acknowledges that a visual inspection alone may be insufficient to identify

variations in slope grades “unless you’re very well trained.” (Id. 45:11-22.)



3
 Pls.’ Concise Statement (ECF No. 107) Ex. A.
4
 Defendant denies this statement (and other statements made by Plaintiffs) “to the extent that
Plaintiffs seek to summarize the entirety of Mr. Duffner’s testimony, which is in writing and
speaks for itself.” (ECF No. 114 ¶ 2.) However, it is Defendant’s responsibility to point to other
evidence which contradicts the statement Plaintiffs make from the record.
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       To ensure its parking facilities are constructed in compliance with the ADA, Defendant

relies exclusively on purportedly ADA-compliant design plans and the permit process of local

agencies. (Id. 31:7-33:1.) Post-construction, Defendant does not assess its parking facilities for

ADA compliance. (Id. 19:17-21:17, 31:1-6, 32:9-14, 71:18-72:24.)

       Defendant only conducts an ADA-specific inspection of its parking facilities when a

customer complains or files a lawsuit. (Id. 31:1-6.) Accessibility barriers have formed at and

within Defendant’s parking facilities, as illustrated by the numerous ADA violations detailed in

Plaintiffs’ Complaint. (Compl. ¶ 21.) Following the initiation of this lawsuit, Defendant found

that some claims were valid and others were not. (Duffner Dep. 46:15-49:7.) Defendant admits

that, before this lawsuit was filed, it was not aware of any of the ADA violations detailed in

Plaintiffs’ Complaint, and it engaged in remediation efforts at the properties identified in

Plaintiffs’ Complaint only as a result of the commencement of this litigation. (Duffner Dep.

46:8-50:5.) Defendant indicates that remediation efforts were made “[t]o all of them to some

degree that they were able to effect immediate repairs” (Duffner Dep. 50:4-5), but was unaware

if some repairs were planned for a later date (id. 50:6-8).

       Procedural History

       Plaintiffs filed this action on February 10, 2015. Federal question jurisdiction is based on

the ADA claim, 28 U.S.C. § 1331; 42 U.S.C. § 12188(a). They allege that the cited violations

constitute “a failure to remove architectural barriers” in violation of 42 U.S.C.

§ 12182(b)(2)(A)(iv) and a failure to alter, design or construct accessible facilities after the

effective date of the ADA in violation of § 12183(a)(1) and the appropriate regulations, which

will deter them and similarly situated individuals from returning to Defendant’s facilities and

that, without injunctive relief, they will be unable to fully access Defendant’s facilities in



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violation of their rights under the ADA. (Compl. ¶¶ 37-47.) They also bring this action on

behalf of all others similarly situated pursuant to Rule 23(a) and (b)(2) of the Federal Rules of

Civil Procedure. (Compl. ¶¶ 31-36.)

       On November 4, 2016, Plaintiffs filed a motion to certify class (ECF No. 44). Defendant

filed its response in opposition on January 31, 2017 (ECF No. 60) and Plaintiff filed a reply brief

on February 28, 2017 (ECF No. 68). A hearing was held on the class certification motion on

March 20, 2017.

       On April 27, 2017, a Memorandum Opinion and Order was filed which granted

Plaintiffs’ motion and certified a class as follows:

       All persons with qualified mobility disabilities who were or will be denied the full
       and equal enjoyment of the goods, services, facilities, privileges, advantages or
       accommodations of any Steak ‘n Shake restaurant location in the United States on
       the basis of a disability because such persons encountered accessibility barriers at
       any Steak ‘n Shake restaurant where Defendant owns, controls and/or operates the
       parking facilities.

(ECF No. 73 at 17.)

       Defendant sought leave to appeal from the Court of Appeals and leave was granted on

July 28, 2017 (ECF No. 77). The case was stayed in this Court pending disposition of the appeal

(ECF Nos. 84, 85). On July 26, 2018, the Court of Appeals entered an order reversing the

decision of this Court and remanding the case for further proceedings (ECF No. 86). The

opinion was published as Mielo v. Steak ‘N Shake Operations, Inc., 897 F.3d 467 (3d Cir. 2018).

The opinion held as follows:

       1) Plaintiffs had standing because they suffered an injury in fact when they encountered

difficulties ambulating in Steak ‘N Shake parking lots, allegedly because Steak ‘N Shake failed

to adopt policies to seek out and correct access violations, they suffered concrete harm in having

to ambulate through parking facilities that were not ADA-compliant and their injuries were

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actual not hypothetical; the injuries were traceable to Steak ‘N Shake; and their injuries were

likely to be redressed by a favorable judicial decision because, even though they requested only

the adoption of policies it was likely that the restaurants would adhere to the policies and correct

any ADA violations that were discovered, particularly if the Court retained jurisdiction over the

case as Plaintiffs proposed.

       2) This Court erred in certifying a class when “doubt” existed, using a “relaxed” class

certification standard that did not survive the 2003 amendments to Rule 23 of the Federal Rules

of Civil Procedure.

       3) Plaintiffs failed to meet the numerosity standard under Rule 23(a)(1) because census

data (showing that there are between 14.9 and 20.9 million persons with mobility disorders in the

United States and therefore it is “highly likely” that at least 40 of them experienced access

violations at Steak ‘N Shake restaurants) was not sufficient to speculate in this manner; the same

result applied to a statement made by a Steak ‘N Shake executive (itself speculation); and

Plaintiffs’ request for a “relaxed” standard in cases of injunctive and declaratory relief was based

on an overly expansive reading of a statement in In re Modafnil Antitrust Litigation, 837 F.3d

238, 252-53 (3d Cir. 2016) that merely described one factor within a non-exhaustive list of six

and did not articulate a relaxed standard.

       4) The Court’s defined class was too broad for the commonality factor under Rule

23(a)(2), referring to any persons who “encountered accessibility barriers at any Steak ‘N Shake

restaurant” and thus was not limited to the parking lot issues (also would include bathroom

doors, water fountains, etc.); in fact, there are multiple distinct parking lots issues (ramp slope,

location of “accessible” parking signage, etc.).

       5) The case is remanded for Plaintiffs to redefine the class to try to meet the numerosity



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and commonality factors and to come up with a single injunction that would provide to all

members of the class, Rule 23(b)(2); Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360 (2011).

       On November 7, 2018, Defendant filed the pending motion for summary judgment or, in

the alternative, partial summary judgment (ECF No. 96). On December 27, 2018, Plaintiffs filed

a brief in opposition (ECF No. 106) and on January 28, 2019, Defendant filed a reply brief (ECF

No. 113).

       Standard of Review

       The Federal Rules of Civil Procedure provide that: “The court shall grant summary

judgment if the movant shows that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.” Fed.R.Civ.P. 56(a). Summary judgment may

be granted against a party who fails to adduce facts sufficient to establish the existence of any

element essential to that party’s case, and for which that party will bear the burden of proof at

trial. Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). The moving party bears the initial

burden of identifying evidence which demonstrates the absence of a genuine issue of material

fact. Once that burden has been met, the non-moving party must set forth “specific facts

showing that there is a genuine issue for trial” or the factual record will be taken as presented by

the moving party and judgment will be entered as a matter of law. Matsushita Elec. Indus. Corp.

v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). An issue is genuine only if the evidence is

such that a reasonable jury could return a verdict for the nonmoving party. Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986). The Court of Appeals has held that “where the movant

bears the burden of proof at trial and the motion does not establish the absence of a genuine

factual issue, the district court should deny summary judgment even if no opposing evidentiary

matter is presented.” National State Bank v. Federal Reserve Bank, 979 F.2d 1579, 1582 (3d



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Cir. 1992).

       In following this directive, a court must take the facts in the light most favorable to the

non-moving party, and must draw all reasonable inferences and resolve all doubts in that party’s

favor. Hugh v. Butler County Family YMCA, 418 F.3d 265, 266 (3d Cir. 2005); Doe v. County

of Centre, Pa., 242 F.3d 437, 446 (3d Cir. 2001).

       Defendant argues that: 1) there is no obligation under 28 C.F.R. § 36.211 for it to create a

maintenance policy or practice to identify and repair barriers to access, both because the

regulation says nothing about it and because such a requirement would be in tension with the

obligation to remove barriers “where it is readily achievable to do so,” and Plaintiffs conceded

on appeal that the regulation imposes no such requirement, to conclude otherwise would raise

constitutional problems by creating a vague obligation which Steak ‘N Shake was unaware of

and which would be impossible to meet, in addition to which there is no private cause of action

under Section 211; and 2) Plaintiffs have failed to demonstrate that they have standing,

particularly the requirement of establishing traceability as there is no basis for tracing Plaintiffs’

injuries or barriers they encountered to a policy or lack of one by Steak ‘N Shake.

       Plaintiffs respond that: 1) Defendant has mischaracterized our theory, which is not that

Steak ‘N Shake needs to seek out potential violations but rather that it needs to ensure—post

construction—that its facilities remain compliant under the ADA, parking lot slopes can be kept

in “working condition” as can “accessible routes” and the regulations urge public

accommodations to establish procedures for ongoing assessment of compliance, and Defendant

improperly raises financial concerns but the standards already account for this issue by referring

to “undue burdens” and “readily achievable” measures; 2) Section 211 is not unconstitutionally

vague, rather the Department of Justice (DOJ) provides extensive guidelines, standards, technical



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materials, manuals and handbooks; 3) there is a private right of action provided in 28 C.F.R.

§ 36.501; and 4) Plaintiffs have standing because Defendant’s policy allows problems to persist

and individuals are eventually injured or bring suit.

       In a reply brief, Defendant argues that: 1) to the extent that Plaintiffs seek relief under

Section 211, they cannot pursue it under that regulation and if not, Steak ‘N Shake is still entitled

to partial summary judgment as to any claim they have asserted under Section 211; 2) Title III

requires public accommodations to ensure that new construction meets certain standards, to

undertake alterations in compliance with the ADA and to remove barriers where it is readily

achievable but not to maintain a policy of looking for potential problems, and Plaintiffs admitted

as much on appeal; 3) Section 501 cannot create a right to pursue a violation of another

regulation unless Congress has already created the right and it has not; and 4) Plaintiffs lack

standing not as to individual locations they visited but as to the “maintenance policy” which

relies upon the private right of action and permanent inspect-and-repair obligations that Section

211 does not impose.

       Scope of ADA Relief

       Title III of the ADA “prohibits discrimination against the disabled in the full and equal

enjoyment of public accommodations.” Spector v. Norwegian Cruise Line Ltd., 545 U.S. 119,

128 (2005). Specifically, it requires, inter alia, “places of public accommodation” to “remove

architectural barriers … in existing facilities … where such removal is readily achievable,” 42

U.S.C. § 12182(b)(2)(A)(iv), and to “design and construct facilities for first occupancy [no] later

than 30 months after July 26, 1990 that are readily accessible to and usable by individuals with

disabilities,” § 12183(a). Places of public accommodation include “a restaurant, bar, or other

establishment serving food or drink,” § 12181(7)(B), and thus include Steak ‘N Shake. Failure



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to meet these requirements constitutes a violation of the ADA which may be enforced by

individuals bringing suit for injunctive relief in federal court, § 12188(a). The statute further

states that “injunctive relief shall also include … modification of a policy….” Id.

         “Under Title III of the ADA, private plaintiffs may not obtain monetary damages and

therefore only prospective injunctive relief is available.” Anderson v. Macy’s, Inc., 943 F. Supp.

2d 531, 538 (W.D. Pa. 2013) (citation omitted). See 42 U.S.C. § 12188(a) (providing that the

remedies available to individuals shall be those set forth in 42 U.S.C. § 2000a-3(a), which allows

a private right of action only for injunctive relief for violations of Title II of the Civil Rights Act

of 1964); Newman v. Piggie Park Enters., Inc., 390 U.S. 400, 402 (1968) (noting that Title II

allows for injunctive relief only).

         In addition to § 12188(a)(2), Plaintiffs also rely on 28 C.F.R. §§ 36.211 and 36.501. The

first regulation states that:

         (a) A public accommodation shall maintain in operable working condition those
         features of facilities and equipment that are required to be readily accessible to
         and usable by persons with disabilities by the Act or this part.

         (b) This section does not prohibit isolated or temporary interruptions in service or
         access due to maintenance or repairs.

         (c) If the 2010 Standards reduce the technical requirements or the number of
         required accessible elements below the number required by the 1991 Standards,
         the technical requirements or the number of accessible elements in a facility
         subject to this part may be reduced in accordance with the requirements of the
         2010 Standards.

28 C.F.R. § 36.211.5

         The second provision states that:

         (a) General. Any person who is being subjected to discrimination on the basis of
         disability in violation of the Act or this part or who has reasonable grounds for
         believing that such person is about to be subjected to discrimination in violation


5
    The 2010 Standards are found at 36 C.F.R. pt. 1191, App. B & D.
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       of section 303 of the Act or subpart D of this part may institute a civil action for
       preventive relief, including an application for a permanent or temporary
       injunction, restraining order, or other order. Upon timely application, the court
       may, in its discretion, permit the Attorney General to intervene in the civil action
       if the Attorney General or his or her designee certifies that the case is of general
       public importance. Upon application by the complainant and in such
       circumstances as the court may deem just, the court may appoint an attorney for
       such complainant and may authorize the commencement of the civil action
       without the payment of fees, costs, or security. Nothing in this section shall
       require a person with a disability to engage in a futile gesture if the person has
       actual notice that a person or organization covered by title III of the Act or this
       part does not intend to comply with its provisions.

       (b) Injunctive relief. In the case of violations of §§ 36.304, 36.308, 36.310(b),
       36.401, 36.402, 36.403, and 36.405 of this part, injunctive relief shall include an
       order to alter facilities to make such facilities readily accessible to and usable by
       individuals with disabilities to the extent required by the Act or this part. Where
       appropriate, injunctive relief shall also include requiring the provision of an
       auxiliary aid or service, modification of a policy, or provision of alternative
       methods, to the extent required by the Act or this part.

28 C.F.R. § 36.501.

       The parties argue at length over the wording of Section 211. Defendant contends that it

says nothing about creating a policy to inspect for and repair barriers, that the phrase “maintain

in operable working condition those features of facilities and equipment” in no way suggests an

affirmative obligation to seek out any and all barriers to access and repair them, that “features” is

vague and ambiguous, that parking lot slopes do not constitute “facilities and equipment” and

that the kind of obligation Plaintiffs seek to read into Section 211was in fact imposed by the DOJ

on Title II entities in 28 C.F.R. §§ 35.105(a) (requiring any public entity to perform a one-time

evaluation of its “current services, policies and practices” and modify them as necessary) and

35.150(d)(1) (requiring public entities to develop a transition plan setting forth the steps

necessary to make structural changes to facilities) and thus it does not apply here.

       Plaintiffs respond that Defendant has ignored the word “maintain” which requires

ongoing action by a public accommodation, that Section 211 is not limited only to mechanical

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equipment as indicated in a DOJ guidance, that “accessible routes” can be maintained in

“operable working condition” as indicated in DOJ guidances and technical assistance manuals,

that the obligation to maintain facilities is ongoing, that Congress intended to place the burden to

identify discriminatory conditions on public accommodations rather than individuals and that

Defendant is well aware of its obligations under Section 211 but willfully chooses not to comply.

       The parties agree that, if alerted to a problem at one of its restaurants, including those

identified in the Complaint (accessible parking spaces, access aisles and routes to the facility

entrance the slopes of which exceeded 2.1%, accessible spaces not marked with required signs,

no spaces marked as “van accessible,” signs mounted less than 60 inches above the finished

surface, a route to the facility with a running slope which exceeded 5.0%, and a curb ramp with

an excessive running slope), Steak ‘N Shake would have an obligation to remedy the issue. The

question presented is whether the ADA or its regulations place a burden on Steak ‘N Shake to

seek out and find these compliance issues or whether Steak ‘N Shake is obligated to act only

when alerted to their existence.

       Unfortunately for Plaintiffs, the wording of Section 211 simply does not support the

burden they wish to place on Steak ‘N Shake. It is true that the word “maintain” contemplates an

ongoing duty, and Steak ‘N Shake admits that its duty to operate ADA-compliant facilities is

ongoing. “This section recognizes that it is not sufficient to provide features such as accessible

routes, elevators, or ramps, if those features are not maintained in a manner that enables

individuals with disabilities to use them.” 28 C.F.R. pt. 36, App. C, § 36.211. See Lozano v.

C.A. Martinez Family Ltd. P’ship, 129 F. Supp. 3d 967, 973 (S.D. Cal. 2015) (plaintiff submitted

evidence that the painted surface of the accessible parking spots had faded to the point that the

markings were nonexistent or barely visible, and thus was entitled to an injunction requiring the



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defendant to repaint them).

       Further, Section 211 is not limited only to mechanical equipment. As a DOJ guidance

explains:

       The Department has noticed that some covered entities do not understand what is
       required by § 36.211, and it would like to take the opportunity presented by this
       NPRM to clarify. Section 36.211(a) broadly covers all features that are required
       to be accessible under the ADA, from accessible routes and elevators to roll-in
       showers and signage. It is not sufficient for a building or other feature to be built
       in compliance with the ADA, only to be blocked or changed later so that it is
       inaccessible. A common problem observed by the Department is that covered
       facilities do not maintain accessible routes. For example, the accessible routes in
       offices or stores are commonly obstructed by boxes, potted plants, display racks,
       or other items so that the routes are inaccessible to people who use wheelchairs.
       Under the ADA, the accessible route must be maintained and, therefore, these
       items are required to be removed. If the items are placed there temporarily—for
       example, if an office receives multiple boxes of supplies and is moving them from
       the hall to the storage room—then § 36.211(b) excuses such “isolated or
       temporary interruptions.” Other common examples of features that must be
       maintained, and often are not, are platform lifts and elevators. Public
       accommodations must ensure that these features are operable and, to meet this
       requirement, regular servicing and making repairs quickly will be necessary.

Nondiscrimination on the Basis of Disability by Public Accommodations and in Commercial

Facilities, 73 Fed. Reg. 34508-01, 34523 (June 17, 2008). And contrary to Defendant’s

assertion, the word “facility” is not vague; it “means all or any portion of buildings, structures,

sites, complexes, equipment, rolling stock or other conveyances, roads, walks, passageways,

parking lots, or other real or personal property, including the site where the building, property,

structure, or equipment is located.” 28 C.F.R. § 36.104. Thus, it would cover access aisles,

accessible parking spaces and curb ramps in the parking lot.

       Plaintiffs contend that “accessible routes”6 can be maintained in “operable working



6
  The 2010 ADA Accessibility Guidelines define an “accessible route” as “[a] continuous
unobstructed path connecting all accessible elements and spaces of a building or facility. Interior
accessible routes may include corridors, floors, ramps, elevators, lifts, and clear floor space at
fixtures. Exterior accessible routes may include parking access aisles, curb ramps, crosswalks at
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condition,” citing an ADA guide which states that “towns must maintain in operable working

condition those features that are necessary to provide access to services, programs, and

activities—including elevators and lifts, curb ramps at intersections, accessible parking spaces,

ramps to building or facility entrances, door hardware, and accessible toilet facilities.” US DOJ,

ADA Guide for Small Towns, Civil Rights Division, Disability Rights Sections (April 2000).7

This document is about Title II, rather than Title III. Plaintiffs also note that a DOJ technical

assistance manual states that public accommodations are required to, inter alia: “maintain curb

ramps and sidewalks to prevent large cracks and uneven surfaces from forming.” US DOJ,

Maintaining Accessible Features in Retail Establishments.8

       Nevertheless, a public accommodation can fulfill these duties by making repairs when it

finds problems or when problems are brought to its attention, which is not the same proposition

as requiring it to create a policy to inspect for such problems. Plaintiffs’ argument fails when

they attempt to place the burden to inspect for such potential issues on the public

accommodation, a position that is not supported anywhere in the statute or regulations. Plaintiffs

cite to a section of the ADA indicating that the intent of the statute was “to make it easier for

people with disabilities to obtain protection under the ADA.” 28 C.F.R. § 36.101(b). And they

argue that public accommodations have been expressly put on notice of what they are required to

do, including the ongoing duties to construct accessible facilities, remove barriers and maintain

accessibility, by virtue of the ADA and its implementing regulations. 28 C.F.R. § 36.401 et seq.;

Standards § 4 et seq; 73 Fed. Reg. 34508-01, 34523.

       As noted above, the DOJ imposed inspection requirements on Title II entities in 28



vehicular ways, walks, ramps, and lifts.” 28 C.F.R. pt. 36, App. D, § 3.5.
7
  Available at https://www.ada.gov/smtown.htm#anchor19789.
8
  Available at https://www.ada.gov/business/retail_access.htm.
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C.F.R. §§ 35.105(a) (requiring any public entity to perform a one-time evaluation of its “current

services, policies and practices” and modify them as necessary) and 35.150(d)(1) (requiring

public entities to develop a transition plan setting forth the steps necessary to make structural

changes to facilities). Section 211 contains no such language.

       In fact, a DOJ regulatory guidance on Title III states that:

       Although the obligation to engage in readily achievable barrier removal is clearly
       a continuing duty, the Department has declined to establish any independent
       requirement for an annual assessment or self-evaluation. It is best left to the
       public accommodations subject to § 36.304 to establish policies to assess
       compliance that are appropriate to the particular circumstances faced by the wide
       range of public accommodations covered by the ADA. However, even in the
       absence of an explicit regulatory requirement for periodic self-evaluations, the
       Department still urges public accommodations to establish procedures for an
       ongoing assessment of their compliance with the ADA’s barrier removal
       requirements. The Department recommends that this process include appropriate
       consultation with individuals with disabilities or organizations representing them.
       A serious effort at self-assessment and consultation can diminish the threat of
       litigation and save resources by identifying the most efficient means of providing
       required access.

28 C.F.R. Pt. 36, App. C, § 36.304. Plaintiffs invoke this paragraph to argue that, while public

accommodations may have discretion to establish procedures for ongoing assessment, they do

not have “permission to indefinitely ignore discriminatory conditions or to wait until they deter

or deny access to someone with a disability.” (ECF No. 106 at 11.) However, they cannot

escape the plain language of this guidance, namely that the DOJ does not impose any

independent requirement for assessment or self-evaluation. If a public accommodation allows

conditions to deteriorate to the point that an individual with a disability is deterred or denied

access, that individual can sue for an ADA violation, but this does not mean that the public

accommodation is also independently liable for failing to notice the condition in the first place.

       The Court of Appeals made these observations in the case on appeal:

               Plaintiffs implicitly argue that it would be good policy to interpret Section

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        211 to require places of public accommodation to actively seek out access
        violations, as compared to correcting access violations as they are discovered. See
        Appellee Br. 37 (arguing that Steak ‘n Shake “effectively ... push[es] its
        obligation to maintain the accessibility of its restaurants onto customers”). But
        while relieving customers of the burden of bringing access violations to the
        attention of restaurants might be good policy, it appears to be in tension with the
        very policy which Congress codified in the text of the ADA.

                 In enacting the ADA, Congress made clear that “the nature and cost” of a
        particular action, as well as “the overall financial resources of the facility or
        facilities involved in the action,” must be taken into account when determining
        whether a particular access violation constitutes ADA “discrimination” that must
        be corrected. 42 U.S.C. § 12181(9). In doing so, Congress heeded the obvious:
        places of public accommodation have finite resources to allocate to correcting
        access violations.

                The text of the ADA seems to suggest, then, that disabled patrons like
        Mielo and Heinzl are better served when restaurants are required to spend their
        limited financial resources on correcting only the access violations that disabled
        patrons have actually brought to the restaurant’s attention—rather than requiring
        those establishments to expend their limited resources in an ongoing search for
        potential violations that may not exist.

Mielo, 897 F.3d at 478 n.10.

        The mandate rule, a species of the law of the case doctrine, requires district courts to

adhere to the mandate of the court of appeals on remand, Casey v. Planned Parenthood of

Southeastern Pennsylvania, 14 F.3d 848, 856 (3d Cir. 1994), but this rule does not extend to

dicta or matters that the court of appeals did not decide. Quern v. Jordan, 440 U.S. 332, 347 n.18

(1979). The Court of Appeals, on appeal of the class action certification decision of this Court,

explicitly stated that “in light of our inability to fully engage the merits at this state of the

litigation, we are not at liberty to decide whether Plaintiffs’ novel interpretation of the ADA and

its corresponding regulations would survive a dispositive motion under either Rule 12(b)(6), or

Rule 56 of the Federal Rules of Civil Procedure.” 897 F.3d at 478. Thus, the Court of Appeals

was not addressing the merits Plaintiffs’ claim and this Court is not bound by the comments




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made by the Court of Appeals in a footnote.9 Nevertheless, “cogent dicta are likely to command

substantial respect both on remand to a lower court and on subsequent appeal to the same court.”

18B Charles Alan Wright, Arthur R. Miller & Edward H. Cooper, Federal Practice & Procedure

§ 4478 (2d ed. 2002).

       As observed by the Court of Appeals, the ADA requires public accommodations to

“remove architectural barriers” where such removal is “readily achievable,” 42 U.S.C.

§ 12182(b)(2)(A)(iv), and defines “readily achievable” as:

       easily accomplishable and able to be carried out without much difficulty or
       expense. In determining whether an action is readily achievable, factors to be
       considered include—

               (A) the nature and cost of the action needed under this chapter;

               (B) the overall financial resources of the facility or facilities involved in
       the action; the number of persons employed at such facility; the effect on
       expenses and resources, or the impact otherwise of such action upon the operation
       of the facility;

               (C) the overall financial resources of the covered entity; the overall size of
       the business of a covered entity with respect to the number of its employees; the
       number, type, and location of its facilities; and

                (D) the type of operation or operations of the covered entity, including the
       composition, structure, and functions of the workforce of such entity; the
       geographic separateness, administrative or fiscal relationship of the facility or
       facilities in question to the covered entity.

§ 12181(9). See also 28 C.F.R. § 36.304(a). Plaintiffs argue that this provision addresses the cost

of removing the barriers, not the cost of identifying them in the first instance. Although this is a

true statement, it misses the larger point, which is that Congress and the DOJ have not indicated

that the costs of remedying ADA violations should always be borne by the public


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  On the other hand, Plaintiffs argue that “the court reduced Plaintiffs’ theory of harm with
respect to Section 211 to a theory that Plaintiffs never advanced.” (ECF No. 106 at 5 n.4.) This
Court is bound by the Court of Appeals’ description of theory of harm that Plaintiffs presented to
it and which they appear to be presenting again here, although they disavow it.
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accommodation. As for the costs of identifying the violations, it could be argued that Congress,

in enacting 42 U.S.C. § 12188—which allows individuals to bring suit for ADA violations and

obtain injunctive relief, and also § 12205, which allows for their lawyers to collet reasonable

attorney’s fees for bringing such suits—recognized that individuals with disabilities are often in

a better position to notice such problems and bring them to the attention of the public

accommodation.

       Defendant also notes that even newly-built facilities are permitted to deviate from

building standards in certain circumstances. See 36 C.F.R. Pt. 1191, App. B, § 104.1.1

(conventional industry tolerances); 28 C.F.R. § 36.401(c)(1) (structural impracticability because

of terrain or other factors prevent incorporation of accessibility features). But Plaintiffs’

proposal to conduct inspections for potential violations contains no individualized analysis and

would seemingly require permanent ongoing obligations to guarantee Steak ‘N Shake’s

compliance with all of the requirements in the 2010 ADA Standards.

       For all the reasons identified by the Court of Appeals and by Defendant, Plaintiffs have

not demonstrated that Section 211 contains a requirement that Steak ‘N Shake adopt a policy of

identifying potential ADA violations such as the slope of the access aisles in its parking lots.

Plaintiffs attempt to argue that this is not the gravamen of their Complaint, but their awkward

change of course does not alter the situation. Although Plaintiffs now argue that their claim is

based on Defendant’s failure to “maintain” its parking lot in “operable condition” as explained

above, Defendant does not contest that a particular parking lot that falls out of operable condition

(that is, that develops an excessive slope, for example) cannot be the source of an action under

the ADA, only that its failure to seek out and find such a violation cannot itself form the basis of

an ADA complaint. They contend that Defendant has no policy to inspect for ADA violations



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such as the parking lot issues cited herein, but also argue that they “seek a modification of

Defendant’s existing policy in order to remedy its discriminatory impact.” (ECF No. 106 at 2.)

Perhaps, after reading the opinion of the Court of Appeals, Plaintiffs had to revise their approach

to this case, but in any event, they cannot maintain their claim to the extent that it is based on

Section 211.

         Constitutional Analysis

         Defendant also argues that, if Section 211 were interpreted as Plaintiffs construe it, such a

construction would violate two constitutional principles: vagueness and lack of fair notice.

Plaintiffs contend that Section 211 presents no constitutional problems.

         Plaintiffs cite to the ADA building standards and certain other DOJ-issued materials that

they contend are sufficiently specific to prevent a due process violation. But as Defendant notes,

the building standards are specifically designed and written to provide guidance for new

construction and alterations, but Section 211 contains no such standards for frequency, scope,

depth of inspection or timeline for remediation. As such, it does not provide “fair notice of

conduct that is forbidden or required,” F.C.C. v. Fox Television Stations, Inc., 567 U.S. 239, 253

(2012), and would be also void for vagueness if it imposed on public accommodations the

requirement of adopting a policy of searching for potential ADA violations as Plaintiffs contend.

         Plaintiffs contend that the “obligation to engage in readily achievable barrier removal is a

continuing one.” ADA Title III Technical Assistance Manual Covering Public Accommodations

and Commercial Facilities, III-4.4400.10 However, they have not explained how this addresses

the issue: is the duty to inspect they seek to imply on an annual basis? Is it more frequently?

They also cite materials indicating that allowing obstructions “to persist beyond a reasonable



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     Available at https://www.ada.gov/taman3.html.
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period of time would violate [Section 211].” 28 C.F.R. Pt. 36, App. C, § 36.211. However, their

Complaint does not allege that Steak ‘N Shake was aware of parking lot access violations and

allowed them to persist “beyond a reasonable period of time,” but rather than Steak ‘N Shake

failed to seek out and find the problems within a reasonable time. Thus, their proposed reading

of Section 211 would also raise constitutional problems of vagueness and lack of notice.

       Private Cause of Action

       Defendant also argues that Section 211 does not provide Plaintiffs with a private cause of

action, even if the regulation could be read as broadly as they contend. Plaintiffs respond that

Section 501 provides a private cause of action, but Defendant replies that one regulation cannot

provide a private cause of action for violation of another regulation unless Congress has so

indicated.

       The Supreme Court has held that:

       Language in a regulation may invoke a private right of action that Congress
       through statutory text created, but it may not create a right that Congress has not.
       Touche Ross & Co. v. Redington, 442 U.S., at 577, n. 18, 99 S.Ct. 2479 (“[T]he
       language of the statute and not the rules must control”). Thus, when a statute has
       provided a general authorization for private enforcement of regulations, it may
       perhaps be correct that the intent displayed in each regulation can determine
       whether or not it is privately enforceable. But it is most certainly incorrect to say
       that language in a regulation can conjure up a private cause of action that has not
       been authorized by Congress. Agencies may play the sorcerer's apprentice but not
       the sorcerer himself.

Alexander v. Sandoval, 532 U.S. 275, 291 (2001). The Court of Appeals has held that, when

regulations “focus on the person regulated rather than individuals protected” and have an

“aggregate focus,” rather than an individual one, they create “no implication of an intent to

confer rights on a particular class of persons,” and therefore create no enforceable right of action.

Three Rivers Ctr. for Independent Living, Inc. v. Housing Auth. of City of Pittsburgh, 382 F.3d

412, 429-30 (3d Cir. 2004). In that case, the court held that a regulation promulgated under

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Section 504 of the Rehabilitation Act, 24 C.F.R. § 8.22(a), did not provide a private right of

action. Similarly, a district court held that regulations implementing Title II of the ADA,

specifically 28 C.F.R. §§ 35.130(d) and 41.51(d), did not provide a private cause of action.

Zatuchni v. Richman, 2008 WL 3408554, at *11-12 (E.D. Pa. Aug. 12, 2008). See also

Abrahams v. MTA Long Island Bus, 644 F.3d 110, 118-19 (2d Cir. 2011) (49 C.F.R.

§ 37.137(c), which created a procedural requirement that public entities permit ongoing public

participation in developing and assessing paratransit services, could not be enforced as a private

cause of action under 42 U.S.C. § 12143 of the ADA because the regulation’s “ongoing

requirement” had a broader application than the implementation of the initial plan or submission

of annual updates set forth under the statute); Ability Ctr. of Greater Toledo v. City of Sandusky,

385 F.3d 901, 914 (6th Cir. 2004) (28 C.F.R. § 35.150(d) may create a procedural requirement

that encourages public entities to consider and plan ways in which they will accommodate the

disabled, but there is no indication that a public entity’s failure to develop a transition plan harms

disabled individuals, much less in a way that Title II aims to prevent or redress).

       Section 211 focuses on the regulated entity (“A public accommodation shall”), not the

protected individuals.11 Plaintiffs attempt to distinguish Three Rivers on the ground that a public

accommodation’s failure to comply with Section 211 will necessarily deny access to that

accommodation. However, as Defendant notes, many potential violations of Section 211,

including many of those alleged by Plaintiffs, are highly technical and would not necessarily

result in a denial of access. They also cite cases such as Shariff v. Radamar Meat Corp., 2014

WL 1311563, at *3 (E.D.N.Y. Feb. 14, 2014), as enforcement actions under regulations such as



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  Defendant notes that at least one district court has held that there is no private right of action
even under the DOJ’s inspect-and-repair obligations under Title II, 28 C.F.R. § 36.105. See
Cherry v. City College of San Francisco, 2005 WL 2620560, at *4 (N.D. Calif. Oct. 14, 2005).
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28 C.F.R. §§ 36.304(b) and 36.402(b). However, the court found the defendant liable pursuant

to 42 U.S.C. § 12182(b)(2)(A)(iv) for failing to remove architectural barriers and only cited to

the regulations to conclude that the plaintiff could obtain an injunction that would require the

defendant to create accessible parking spaces. The court did not find the defendant

independently liable under the regulation, much less find it liable for having failed to notice that

it lacked accessible parking spaces.

       Standing

       The Supreme Court has held that:

               In every federal case, the party bringing the suit must establish standing to
       prosecute the action. “In essence the question of standing is whether the litigant is
       entitled to have the court decide the merits of the dispute or of particular issues.”
       Warth v. Seldin, 422 U.S. 490, 498, 95 S.Ct. 2197, 45 L.Ed.2d 343 (1975). The
       standing requirement is born partly of “‘an idea, which is more than an intuition
       but less than a rigorous and explicit theory, about the constitutional and prudential
       limits to the powers of an unelected, unrepresentative judiciary in our kind of
       government.’” Allen v. Wright, 468 U.S. 737, 750, 104 S.Ct. 3315, 82 L.Ed.2d
       556 (1984) (quoting Vander Jagt v. O’Neill, 699 F.2d 1166, 1178–1179
       (C.A.D.C. 1982) (Bork, J., concurring)).

Elk Grove Unified Sch. Dist. v. Newdow, 542 U.S. 1, 11 (2004). The Court has explained that:

               In Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–561, 112 S.Ct. 2130,
       119 L.Ed.2d 351 (1992), we held that, to satisfy Article III’s standing
       requirements, a plaintiff must show (1) it has suffered an “injury in fact” that is
       (a) concrete and particularized and (b) actual or imminent, not conjectural or
       hypothetical; (2) the injury is fairly traceable to the challenged action of the
       defendant; and (3) it is likely, as opposed to merely speculative, that the injury
       will be redressed by a favorable decision.

Friends of the Earth, Inc. v. Laidlaw Envt’l Servs (TOC), Inc., 528 U.S. 167, 180-81 (2000).

       Defendant argues that Plaintiffs cannot meet the element of traceability because they

cannot demonstrate that their injuries were “caused” by Steak ‘N Shake’s alleged unlawful

corporate practices. That is, Plaintiffs cannot connect the single injuries they suffered

(encountering a non-compliant slope at a Steak ‘N Shake parking lot, for example) to Steak ‘N

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Shake’s failure to adopt a maintenance policy because the barrier to access may be the result of

improper construction, faulty modification, weather, an inadequate policy, rogue disobedience of

the policy, poor execution of the policy or some other cause.

       The Court of Appeals has stated that:

               The second element of Article III standing is causation. This element
       requires the alleged injury to be “fairly traceable to the challenged action of the
       defendant, and not the result of the independent action of some third party not
       before the court.” This requirement is “akin to ‘but for’ causation” in tort and may
       be satisfied “even where the conduct in question might not have been a proximate
       cause of the harm.” An “indirect causal relationship will suffice,” provided that
       “there is a ‘fairly traceable connection between the alleged injury in fact and the
       alleged conduct of the defendant.’”

Finkelman v. National Football League, 810 F.3d 187, 193-94 (3d Cir. 2016) (footnotes

omitted). In this case, the Court of Appeals indicated that, “While Plaintiffs will face a heavier

burden to establish causation should they eventually be put to their proof, their burden of

establishing causation at the pleadings stage is less stringent.” Mielo, 897 F.3d at 481. Thus, as

Defendant notes, Plaintiffs cannot simply rely on their pleadings as they did previously.

       Plaintiffs contend that they have satisfied the requirement of standing with respect to the

individual barriers they encountered, but as Defendant observes, that is not the issue. They also

rely on this Court’s opinion in Heinzl v. Cracker Barrell Old Country Stores, Inc., in which the

undersigned suggested that:

       Under Defendant’s construction of the ADA, it could even have an express policy
       of ignoring architectural barriers at its stores, then (only when it is sued over such
       barriers and it has contested the suit for some time), remediate the barrier and put
       an end to the matter. As Plaintiff observes, the ADA was not intended to work in
       this fashion: “No individual shall be discriminated against on the basis of
       disability in the full and equal enjoyment of the goods, services, facilities,
       privileges or accommodations of any place of public accommodation.” 42 U.S.C.
       § 12182(a).

2016 WL 2347367, at *18 (W.D. Pa. Jan. 27, 2016), report and recommendation adopted as



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modified, 2016 WL 1761963 (W.D. Pa. Apr. 29, 2016). However, this opinion predated the

Court of Appeals’ decision in this case and its skepticism that the lack of a corporate

maintenance policy would provide plaintiffs with standing in such a circumstance.

       Plaintiffs have failed to demonstrate how their individual injuries can be traced to Steak

‘N Shake’s lack of a maintenance policy, as opposed to a myriad of other potential causes. For

this reason, also, Defendant’s motion for summary judgment will be granted.

       Conclusion

       To the extent that Plaintiffs’ claims are based on Section 211, the motion for summary

judgment will be granted. However, Defendant has not claimed or demonstrated that it has

remedied the violations cited in the Complaint, nor is it clear that the entire case is subject to

dismissal at this time. Therefore, the motion for summary judgment will be granted in part, and

the parties can then articulate what remains to be litigated in this case.

       An appropriate order follows.




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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

CHRISTOPHER MIELO and SARAH HEINZL,                  )
individually and on behalf of all others similarly   )
situated,                                            )
                      Plaintiffs,                    )
                                                     )
         vs                                          )      Civil Action No. 15-180
                                                     )
STEAK ‘N SHAKE OPERATIONS, INC.,                     )      Magistrate Judge Mitchell
                Defendant.                           )


                                             ORDER

         AND NOW, this 25th day of March, 2019, for the reasons explained in the opinion

above,

         IT IS HEREBY ORDERED that the motion for summary judgment filed by Defendant,

Steak ‘N Shake Operations, Inc. (ECF No. 96) is granted to the extent that Plaintiffs’ claims are

based on 28 C.F.R. § 36.211 and denied in all other respects.




                                                            s/Robert C. Mitchell_______
                                                            ROBERT C. MITCHELL
                                                            United States Magistrate Judge




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